Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 1 of 27

Exhibit J (part 2)
Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 2 of 27

BIOLOGY Qualified biologist shail develop p Applicant Prior to
The applicant shall submit plans and supporting Submit three copies of pian to Planning recordati
documentation for any development located adjacent to a and Building Inspection for review and on of
conservation area identifying measures to avoid or minimize approval final map

adverse effects on plant communities and wildlife located
within the conservation area, Conservation ateas are shown
as an Open Space Preserve/Mitigation Areas on Figure 9-2b,
Alt. 4E Landscape Plan in the Rancho San Juan Specific Plan.
The measures shall inciude, but not be limited to, the
following:

4. Control illumination within the conversion area by
using low pressure sodium lighting, shiclding and/or
otherwise direction light away from conservation
areas;

5. Avoid the use of exotic plant species which are
invasive;

¢. Minimize noise encroachment;

d. Install fencing which controls movement of domestic
animals into conservation areas; and

€. Restrict wildfire management activities to within the

development area.
(Planning and Building Inspection)
39, 5. 4-2 ARCHAEOLOGICAL/HISTORICAL RESOURCES Applicant and Inspectors shail monitor |Applicant/Inspe | During
The applicant and inspectors shall monitor the site for cultural | the site for cultural materials in soils ctors construct
materials in the soils, If, during the course of construction, during construction. ion

paleontological, cultural, archaeological or historical
resources are uncovered at the site, work shall be halted
immediately within 150 feet of the find until it can be

Ranche San Juan Specific Plan and Butterfly Village Page 27 of 127
DEV6301 and PLNO20476
Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 3 of 27

evaluated by a qualified professional archaeologist. The
Monterey County Planning and Building Inspection
Department and a qualified archaeologist {i.e., an
archaeologist registered with the Society of Professional
Archeclogists) shat] be immediately contacted by the
responsible individual present onsite. When contacted, the
project planner and archaeologist shall immediately visit the
site to determine the extent of the resources and ta develop
proper mitigation measures required for the discovery. In
addition, in the event of discovery of human remains, the
provisions of CEQA Guidelines Section 15064.5 (¢) shall be
followed. (Planning and Building Inspection)

estate and residential low homes within the view shed. Said
screening shall not exceed the height of the proposed

40. 5.532 ARCHAEOLOGICAL/HISTORICAL RESGURCES Project architect shall incorporate Applicant Prior to
(RED PONY BARN) , appropriate materials into plans issuance
In order to reduce the visual impacts of the proposed submitted with building permit of
residential units and associated accessory structures from the | application building
Hebert Ranch towards the Gabilan Mountains and the City of permit
Salinas (view shed), appropriate building materials shall be
used in these residential estate and residential low homes on
the HYH property within the view shed including, but not
timited to, matted and non-reflective building materials,
(Planning and Building Inspection)

41. 5. 5-38 ARCHAEOLOGICAL/HISTORICAL RESOURCES Submit three copies of landscape plan to [Applicant Prior to
In order to preserve the historical character of the view of the | Planning and Building Inspection | issuance
Gabilan Mountains and the City of Salinas from the Hebert of
Ranch (view shed), the applicant shall provide = landscape building
plan specifically designed to fully screen those residential permit

Rancho San Juan Specific Plan and Butterfly Village
DEV0301 and PLNOG20470

Page 28 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 4 of 27

structures in order to ensure that the critical view shed is not
fully blocked. (Planning aud Building Inspection)

42. S.45-4 ARCHAEOLOGICAL/HISTORICAL RESGURCES Project architect shall show fences on Applicant Prior to
NOTE ON FINAL MAP: To avoid damaging or removing | plans submitted with building permit issuance
the historical split-rail fences along the norihern and western | application of
boundaries of the Salinas Golf and Country Club, the building
applicant shall incorporate the fences into the design of the permit
proposed project. (Planning and Building Inspection)

43, 5.6-Se NOISE Qualified acoustical consultant shall Applicant Prier to
Prior to the issuance of a building permit, for the wastewater | prepare study. Submit three copies of issuance
treatment facility, a detailed noise study shall be completed by | study to Planning and Building of
a qualified acoustical consultant to document that noise Inspection for review and approval, building
attenuation has been included in the facility to assure that permit
noise levels at surrounding sensitive receptors will not exceed for
ievels identified in Table 5.6-1 of the Rancho San Juan ‘wastewat
Specific Plan and HYH Property Project EIR, (Planning and or
Building Inspection) treatment

facility

44, 5.6-50 NOISE Qualified acoustical consultant shali Applicant Prior to
Prior to issuance of a building permit for any residence prepare study. Submit three copies of issuance
located along the following roadways: study to Planning and Building of

Inspection for review and approval certificat
* Prunedale Bypass; eof
e 4) Street between Town Square and K Street; and occupanc
« _K Street, west of J Street, y

Rancho San Juan Specific Plan and Butterfly Village
DEV0301 and PLNO20470

Page 29 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 5 of 27

An acoustical study shall be prepared for all adjacent noise
sensitive uses. The acoustical study shall identify appropriate
measures to reduce outdoor noise levels to 60 dBA CNEL or
less. Measures may inchide, but are nat limited to, sound
walls and earthern berms; preliminary sound wall locations
and heights are approximated in Figure 5.6-9. Wherever
possible, site planning techniques shall be used to avoid or
minimize the need for sound walls. The requirement to
address acoustic impacts for residential units adjacent to the
Prunedale Bypass would only apply to the applicant if the
Bypass is completed prior to the construction of potentially
impacted residential units in Butterfly Village. (Planning and

with windows closed. Alternatively, the applicant can show
that based on the buildings location relative to the roadway
that it meets the appropriate interior noise standard with open
windows. Where interior noise levels would not be less than
45 dBA CNEL, the documentation shall identify architectural
or other measures to be taken to assure that noise levels will
not exceed 45 dBA CNEL in habitable space within
residences. Noise attenuation on K Street may be eliminated if
the applicant can demonstrate to the satisfaction of the County
that K. Street will not ultimately carry sufficient traffic to

Building Inspection)

45. 5.5-5B NOISE Qualified acoustical consultant shall Applicant Prior to
Prior to issuance of building permits for any residence that provide evidence that Interior noise issuance
would be exposed to outdoor nolse levels in excess of 60 dBA | standard is met. of
CNEL, documentation shall be provided to show that the building
building meets the interior noise standard of 45 dBA CNEL permit

Rancho San Juan Spectfic Plan and Butterfly Vilinge
DEV0301 and PLN@20470

Page 30 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 6 of 27

| warrant noise attenuation. 1f future traffic volumes ¢

dictate future noise attenuation, the County may accept a
switchable form of security to assure that the noise
attentuation does occur when needed. (Planning and
Building Inspection}

at the discretion of County Job Inspectors to further
reduce noise levels.

* Prior to the commencement of construction activities,
a publicly visible sign that specifies project noise
mitigation measures and the telephone number of the
on-site contractor and person to contact regarding
noise complaints shall be posted on the project site.
This contact person shall respond to complaints and

the requirements of the mitigation
measure, shall cause afl work to be
stopped until the report is received and
approved by Planning and Building
Inspection

46. 5.6-5d NOISE . Qualified acoustical consultant shall Applicant Prior to
NOTE ON FINAL MAP: Prior to issuance of building prepare noise study. Submit three copies issuance
permits for any commercial or industrial development sharing | Of study to Planning and Building of
& property line with a noise sensitive use, a detailed noise Inspection for review and approval building
study shall be completed by a qualified acoustical consultant permit
to document that noise attenuation has been included in the
facility to assure that noise levels at surrounding sensitive
teceptors will not exceed levels identified in Table 5.6-1.

(Planning and Building Inspection)
47. 5. 6-5f NOISE The contractor shall keep a certified daily |Applicant Prior to
* All noise-generating construction activities shall be | log of each activity performed during issuance
limited to weekdays between 6:30 a.m. and 7:00 construction including date and of
p.m, and Saturdays between 8:00 a.m, and 5:00 photographs as necessary. Monthly grading
p.m... No construction is allowed on Sundays or on reports shall be submitted to Planning or
County holidays. Temporary berms or noise and Building Inspection. Failure to building
attenuation barriers shall be utilized when necessary | submit a report, or failure to comply with permit —

Rancho San Juan Specific Plan and Butterfly Village
DEV0301 and PLNO20470

Page 31 of 127
Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 7 of 27

take corrective action by the end of the same day, i
the complaint is received by 12:00 p.m. and within
24 hours, if the complaint is received later than 12:00
p.m. The telephone number of the Monterey County
Planning and Building Inspection Department shall
be posted on this sign. A preconstruction meeting
shail be held with the job inspectors and the general
contractor/on-site project manager to confirm that
noise mitigation and practices are implemented.

* All construction equipment operated on the project
site shal] be equipped to lirait noise generation to a
maximum of 85 decibels beyond 25 feet of the
equipment. The project proponent shall submit a
written roster of equipment anticipated to be used on
the project site, including noise generation
information on each. Only those pieces of equipment
meeting the standards through modifications or
enclosures. Stationary sources shall be located away
from sensitive receptors to the greatest extent

control plan, to include the following measure to be
implemented as necessary to adequately control dust:
« Water all active portions of the construction site at
least twice daily, using a recycled water supply if

and Building Inspection, Failure to
submit a report, or failure to comply with
the requirements of the mitigation

measure, shall cause all work to be

feasible,

48. 5. 7-La AIR QUALITY The contractor shal! keep a certified daily |Applicant Prior to
NOTE ON FINAL MAP: Prior to issuance of a grading Jog of cach activity performed during issuance
permit, and subject to the review and approval of the construction including date and of
Monterey County Planning and Building Inspection photographs as necessary. Monthly grading
Department, project plans shall include a construction dust reports shall be submitted to Planning permit

Rancho San Juan Specific Plan and Butterfly Village
DEVOIO! and PLNO2047¢

Page 32 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 8 of 27

feasible, stopped until the report is received and

« Suspend all excavating and grading operations when | approved by Planning and Building
wind speeds exceed 15 mph averaged over one hour, | Inspection
if other control activities are inadequate to control
airborne dust.

« Apply water two times daily or chemical stabilizers
according to manufacturer’s specifications to ail
unpaved parking or staging areas, and unpaved road
surfaces.

* Replace ground cover or apply MBUAPCD-
apptoved chemical soil stabilizers according to
manufacturer's specifications to all inactive
construction areas (disturbed lands within
construction project that are unused for at least four
consecutive days), Apply non-toxic binders (e.z.,
latex acrylic copolymer) ta exposed areas after cut
and filf operations and hydro-seed area.

* Sufficiently water or securely cover all material
transported off-site and adjust on-site loads as
necessary to prevent airborne dust conditions. Haul
trucks shail maintain at least two feet of freeboard.

* Plant vegetative ground cover in, or otherwise
stabilize, disturbed areas as soon as grading and
construction activities in those areas are completed,

¢ Cover material stockpiles that remain inactive for
more than 72 consecutive hours.

« Instal! wheel washers at the entrance to construction
sites for all exiting tracks. Sweep streets if visible
soil material is carried out from the construction site.

Rancho San Juan Specific Plan and Butterfiy Village , Page 33 of 127
DEVO301 and PLNG20470
Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 9 of 27

Post a publicly-visibie sign which specifies the
telephone number and person to contact regarding
dust complaints. This contact person shalt respond to
complaints and take corrective action by the end of
the same day if the complaint is received by 12:00
noon and within 24 hours if the complaint is received
later than 12:00 noon. The phone of the MBUAPCD
shall be visible to ensure compliance with Rule 402
(Nuisance).

Each developer shall maintain a dumpster on-site.

The dumpster shall be emptied periodically

whenever debris reaches the rim.

a. Construction materials shall be kept out of the
street rights-of-way and setback areas at all
times.

b. Developers shail keep all streets free from dirt,
debris and spilled paving materials.

c. “Wash-out” areas shal! be provided for concrete
trucks on all construction sites.

d. As soon as earthwork commences, sediment
control methods shail be installed in such a way
as to filter all stormwater run-off from the track
into the drainage areas. The sediment control
system shall remain in place and in good repair
until construction is complete, landscaping is
installed and lawns and landscape areas are
established.

Limit traffic speed on all unpaved roads to 15, mph

or less.

Rancho San Juan Specific Plan and Butterfly Village
DEV0301 and PLNO20470

Page 34 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 10 of 27

(Planning and Buildiag Iuspection and Public Works)

49. 5. 2-1b AIR QUALITY The contractor shat! keep a certified daily [Applicant During
NOTE ON FINAL MAP: In order to reduce air pollutant tog of each activity performed during construct
emisstons from construction equipment, the applicant shall, to | construction including date and ion
the extent feasible, use equipment powered by other means photographs as necessary. Monthly
other than diesel fuel (CNG, bio-diesel, water emulsion fuel, reports shall be submitted to Planning
electric). If diesel-fueled equipment is used, a minimum of and Building Inspection. Failure to
50% of the equipment shall use low sulphur diesel fuel. All submit a report, or failure to comply with
equipment shall be maintained in a weil-tuned condition, and | the requirements of the mitigation
idling time shall be minimized. (Planning and Building measure, shall cause all work to be
Inspection) stopped until the report is received and

approved by Planaing and Building
Inspection

$0. 5. 7-26 AIR QUALITY Project engineer shall share facilities on [Applicant Prior to
NOTE ON FINAL MAP: The applicant shall provide plans submitted with building permit , issuance
preferential carpool/vanpool parking spaces. Provide for application of
shuttle/minij bus service stop. Provide bicycle storage/parking building
facilities. (Planning and Building Inspection) permit

$1. 5, 7-2 AIR QUALITY Froject engineer shall share facilities on [Applicant Prior to
NOTE ON FINAL MAP: The applicant shall provide transit | plans submitted with building permit issuance
design features within the development. (Planning and application of
Building Inspection) building

permit

Rancho San Juan Specific Plan and Butterfly Village
DEV030! and PLNG20470

Page 35 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 11 of 27

AIR QUALITY

Applicant shall submit program to

Applicant and

On-going

be implemented by the applicant so as to reduce ground
failure/liquefaction impacts to below a level of significance.
(Planning and Building Inspection)

The applicant shall implement a rideshare program. Employ a j Planning and Building Inspection and Employers
transportation/rideshare coordinator, Provide incentives to Public Works for review and approval
employees to rideshare or take public transportation. prior to issuance of a building permit
{Planaing and Building Inspection and Public Works)
53. 5. 7-2f AIR QUALITY Applicant shall submit program to Applicant and = j On-going
The applicant shall Implement compressed or flexible work Planning and Building Inspection and Employers.
schedules and telecommuting programs. (Planning and Public Works for review and approval
Building Inspection) prior to issuance of a building permit
54. 5. Fae AIR QUALITY Applicant shall submit program to Applicant and On-going
: Utilize clean burning fuels in fleet vehicles. (Planning and Planning and Building Inspection and Employers
Building Inspection) Public Works for review and approval
prior to issuance of a building permit
55. Lb. 7-3 AIR QUALITY . ° Submit evidence of MBUAPCD Applicant Prior to
NOTE ON FINAL MAP: Prior to issuance of a building approval to Planning and Building issuance
permit for the wastewater treatment plant, the MBUAPCD Inspection of
shall review and approve odor control devices in accordance building
with Rule 216. (Planning and Building Inspection) permit
36. 5. Sid SOILS AND GEOLOGY Licensed geologist shall conduct Applicant Prior to
NOTE ON FINAL MAP: Prior to the issuance ofa building | investigations issuance
or grading permit, detailed ground failure/liquefaction of
investigations shall be conducted by a licensed geological building
analyst as part of the soil studies required for Final Tract or
Maps te identify remedial grading or contour measures, as grading
appropriate. The recommendations of the investigation shall permit

Rancho San Juan Specific Plan and Butterfly Village
DEVO301 and PLNO20470

Page 36 af 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 12 of 27

HYDROLOGY/WATER QUALITY
Prior to recordation of a final map, the applicant shall submit
4 comprehensive drainage control plan for approval by the
County. Retention/detention basins should reduce off-site
flows to the 10-year pre-development rate. The Plan shall
illustrate how the drainage control measures identified in the
Specific Plan shall be implemented. At a minimum, the Plan
shalt include, but not be limited to, the following elements:
e  Retention/detention basins to reduce offsite flows to
a level which would not exceed 2 10-year storm
event;
* Grass swales or other biofiltration basins at discharge
points of surface parking lots and roadways;
* Sedimentation and erosion control plans during
construction; and
* Permanent landscaping.
(See Permit Conditions No.'s 100 (PWSP0016) and 197)
(Planning and Building Inspection, Public Works, and
Water Resources Agency)

Applicant’s engineer shall prepare plan

lApplicant’s

Engineer

Prior to
recordati
on of

final map

58.

5.9-da

HYDROLOGY/WATER QUALITY

Prior to issuance of any grading permit, the applicant shall
submit an erosion control plan which shall include a series of
measures aimed at controlling erosion and sedimentation as
well as construction equipment byproducts such as gasoline,
oi] and grease. Interim landscaping shall be instituted on
graded areas as soon as practical to control erosion by
minimizing the exposure of bare ground. Sediment would be

controlled through a variety of practices including, but not

Applicant's engineer shall prepare plan

Applicant’s
Engineer

Prior to
issuance

Rancho San Juan Specific Plan and Butterfly Village
DEV030!1 and PLNO20470

Page 37 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 13 of 27

ited to, the followin
Gravel bags, berms, rock dams and/or silt fences;
Interim desilting basins;

Minimizing concentrated flows; and

Dispersion of detention basin water onto pad areas by a
pump and sprinkler system.

Reference Permit Condition No’s 8, 48, 59, 71 and 129,
(Planning and Building Inspection, Public Works, and
Water Resources Agency)

59, 594d HYDROLOGY/WATER QUALITY Applicant's engineer shalf prepare plan {Applicant's Prior to
Prior to issuance of any grading permit, the applicant shall Engineer issuance
Prepare a Stormwater Pollution Prevention Plan (SWPPP) in of
accordance with RWQCB standards. Reference Permit grading
Conditions No.’s 8, 48, $8,71 and 129. . (Planning and permit
Building Inspection, Public Works, Environmental Health
and Water Resources Agency)
60. 5.9-5a HYDROLOGY/WATER QUALITY Applicant's engineer shall prepare Applicant's Prior ta
Prior to approval of final map or use permit within the hydraulic study Engineer issuance
Specific Plan area, the project applicant shall submit hydraulic ofa
studies which demonstrate that realigned drainages or grading
underground structures are capable of transmitting 100-year permitor |.
flows. (Public Works and Water Resources Agency) recordati
on of
final mep
{whichey
er occurs
first)

Rancho San Juan Specific Plan and Butterfly Village
DEV0301 and PLNO20470

Page 38 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 14 of 27

Commencing one (1) year after construction of waterecons ie
improvements within a subdivision, the applicant shall submit annual
reports on total water cansumption which shall include total per unit
consumption date. This shall include data on weter consumption of
the golf course. If either the per unit consumption calcuiation or total
consumption calrulation, estimated consumption for the golf course,
for the particular subdivision exceeds the proportionate consumption
cap established in the EIR, the applicant shall be required to adopt
such water conservation sustainability measures available in the
Specific Plan Matrix to achieve the appropriate annual consumption.
[f consumption still does not meet the caps established in the EIR,
additional building permits in the non-compliant subdivision shall be
withheld or, if the excess consumption is systemic, subsequent
tentative maps will not be approved.

Hf, subsequent to approval of each tentative map, building permits, or
at build-out of the Specific Plan, the amount of consumption (either
per unit or total) exceeds the amount of water assumed in the ELR,
then the Water Resources Agency shall impose some or all of the
following measures:

Water rationing:
Landscape retrofit;
Increased water consumption fees; and/or

installation of a reverse osmosis unit or its equivalent at the
wastewater treatment plant for RSJ.

Rancho San Juan Specific Plan and Butterfly Village
DEV0301 and PLNG20470

Page 39 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 15 of 27

WATER RESOURCES

Prior to recordation of a final map, the applicant shall prepare
4 detailed plan to implement a Water Balance Management
System for the Butterfly Village Project as set forth in Section
6.2.6 {Monitoring Process) of the Rancho San Juan Specific
Plan. The plan shall be submitted for review and approval by
the Monterey County Public Works Department, Water
Resources Agency and Environmental Health, The plan shall
1) provide a means of metering the use of all water (ground
water, waste water and storm water); 2) identify the proposed
water conservation features that are to be implemented within
the project; 3) outline provisions for a water conservation
educational program for residents of Butterfly Village
including cost estimates and a funding mechanism; and 4)
outline provisions of a water monitoring program including
cost estimates and a funding mechanism. (Public Works,
Water Resources A: and Environmental Health)

62,

S105

Applicant’s engineer shall prepare
detailed plan for review and approval by
the County.

Prior ta
recordati
on of
final map

WATER RESOURCES
The bylaws of the Community Services District (CSD), or
other entity that is responsible for the providing water services
to Rancho San Juan, shail provide for the development and
implementation of an on-going water conservation

educational program for the residents as set forth in Section
6.2.6 (Monitoring Process} of the Rancho San Juan Specific
Plan. The program shall be subject to review and approval by
the Monterey County Public Works Department, Water
Resources Agency, Environmental Health Division and
Planning and Building Inspection Department. The purpose
of the program is to help residents understanid the relationship

Submit educational program for review
and approval by Public Works,
Environmental Health, Water Resources
Agency and Planning and Building
Inspection.

Applicant

On-going

Rancho San Juan Specific Plan and Butterfly Village
DEVO301 and PLNO20470

Page 40 af 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 16 of 27

between individual ns and the long-term sustainability of
the community’s water supply.

(Planning and Building Inspection, Public Works,
Environmenta! Health and Water Resources Agency)

63.

5. £O-Lg

WATER RESOURCES

Prior to final map recordation, the bylaws of the
Community Services District (CSD), or other entity
that is responsible for the providing water services
to the area within said map, shall establish the
position of Water Coordinator, or equivalent staff
position, with the overall charge of maximizing the
use of water for the least amount of energy input as
set forth in Section 6.2.6 (Monitoring Process) of
the Rancho San Juan Specific Plan. The Water
Coordinator shall be responsible for all aspects of
water use, reuse, treatment, collection, pumping and
distribution for all land uses in Ranch San Juan. It
shall be the Water Manager’ s responsibility to
meter and monitor water balance levels and to bring
any potential problems to the attention of the CSD
Board of Directors and the community. The
responsibilities of the position shall be subject to
review and approval by the Monterey County
Water Resources Agency. (Planning and Building

Applicant shall submit evidence to
Planning and Building Inspection
showing that the entity responsible for
providing water services has a staff
position with the overall change of
maximizing the use of water for the least
amount of energy input.

Applicant

On-going

Rancho San Juan Specific Plan and Butterfly Village
DEVO301 and PLNO@20470

Page 41 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 17 of 27

Inspection, Public Works, Environmental Health
and Water Resources Agency)

64.

S.FO-1B

WATER RESOURCES

Prior to issuance of any building permit, the County shall
make a determination that the project is consistent with the
water consumption estimates identified in the tentative map
application. Ifthe proposed building exceeds the
consumption estimates, the applicant shall be required to
modify his proposal before the project can be approved.

in addition, the County shail determine that all appropriate
water conservation methods have been included in all
proposed buildings. Water conservation methods shall
include but not be limited to the following:

« Low flow showerheads and toilets;

* Water-conserving irrigation equipment and
procedures;

¢ — Provision of literature to future building occupant(s)
emphasizing the importance of water conservation
and ways to reduce water consumption through day
to day activities;

« = Drought tolerant landscaping,

(Planning and Building Inspection, and Water Resources

Agency)

Applicant’s engineer and architect shall
submit evidence that appropriate water
conservation materials have been
included. The County shall review
project water consumption estimates and
building permits for consistency with
requirements for meeting water
consumption estimates and inclusion of
water saving devices/methads,

Applicant's
Engineer/Appli
cant’s Architect

Prior to
issuance
of
building
permit

Rancho San Juan Specific Plan and Butterfly Village
DEVO301 and PLNO20470

Page 42 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 18 of 27

shall include total per unit consumption data. ‘This shall
include data on water consumption of the golf course. 1f
either the per unit consumption calculation, estimated
consumption for the golf course, or total consumption

65. 5. f0-L¢ WATER RESOURCES Applicant's engineer shall submit A pplicant’s Prior to
NOTE ON FINAL MAP; Prior to approval of final evidence that water conservation Engineer/Lands | approval
improvement plans, applicant shall demonstrate that all measures have been incorporated into cape of final
appropriate water conservation methods have been included in | project design. Applicant shall provide |Architect/App- | improve
the proposed development including but not limited to the an annual report prepared by an engincer flicant ment
following: or landscape architect describing the plans

status of water conservation
« Surface runoff retention basins; methods/devices and if they are not
® Drought tolerant landscaping and irrigation: and adequately functioning, what would be
* Maximal use of reclaimed water, where available, required to return their function.
Applicant wiil take the appropriate action
Applicant shall provide assurance that the long-term to bring the devices into compliance.
maintenance of water conservation methods will be assured.
(Planning and Building Inspection, Public Works,
Environmental Health and Water Resources Agency)

66, 5. 10-1 WATER RESOURCES : Applicant shall submit annual reports on |Applicant Gne year
Commencing one (1) year after construction of water- total water consumption to the County, after
consuming improvements within a subdivision, the applicant | County shall review plans and determine construct
shall submit annual reports on total water consumption which | that they comply. ion

Rancho San Juan Specific Pian and Butterfly Village
DEVO301 and PLNO@20470

Page 43 af 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 19 of 27

calculation for the particular subdivision exceeds the
proportionate consumption cap established in the EIR, the
applicant shall be required to adopt such water conservation
sustainability measures available in the Specific Plan Matrix
to achieve the appropriate annual consumption. If
consumption still does not meet the caps established in the
BIR, additional building permits in the non-compliant
subdivision shall be withheld or, if the excess consumption is
systemic, subsequent tentative maps will not be approved.

Tf, subsequent to approval of each tentative map, building
permits, or at build-out of the Specific Plan, the amount of
consumption (either per unit or total) exceeds the amount of
water assumed in the EIR, then the Water Resources Agency
shall impose some or all of the following measures:

Water rationing;

Landscape retrofit;

Increased water consumption fees; and/or
Installation of a reverse osmosis unit or its equivalent
at the wastewater treatment plant for RSJ.

(Planning and Building Inspection, Public Works,
Environmental Health and Water Resources s Agency)

*e¢ees

Section 8.10 (Sustainability Requirements) of the Rancho San

67. 5. 10-14 WATER RESOURCES Project architect shall incorporate Applicant Prior to
. NOTE ON FINAL MAP: The applicant shall submit plans —_| sustainable building, construction and issuance
and supporting materials showing how each phase of the design features into the plans submitted of
development incorporates the sustainable building, with the building permit application. building
construction and/or design features that are required by permit

Rancha San Juan Specific Plan and Butterfly Village
DEV0301 and PLNO20470

Page 44 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 20 of 27

Juan Specific Plan. In addition, residential development, w
the exception of residential estate homes, shall score a
minimum of 38 points by incorporating additional sustainable
options, Residential estate homes shall score a minimum of
51 points. Sustainable Option Bonuses (SOB’s) are awarded
for qualifying affordable housing projects. Public/Semi-
Public, Commercial, and Industrial development shall score a
minimum of 25 points. Compliance with the sustainable
requirements shall be made a condition of tentative map
approval, Prior to the issuance of a building permit, the
Monterey County Planning and Building Services Manager
shall determine that the project complies with the minimum
score as Specified in Section 8.10 (Sustainability
Requirements) of the Rancho San Juan Specific Plan,
(Planning and Building Inspection

68.

S.fi-la

AGRICULTURE
Prior to recordation of the first final map, the applicant shalt
fond the development of an agricultural compensation
program. The program shall provide a mechanism, subject to
approval of the County of Monterey Board of Supervisors, for
acquiring development credits from owners of important
farmlands and/or other means of preserving important
farraland (defined as Prime Farmland, Farmland of Statewide
Importance, Farmland of Local Importance or Unique
Farmland) to reduce economic pressure to convert farmlands
to development. The program shall provide an in kind, 1:1
compensation ratio through casement dedication and/or
payment of fees to the County; fees shall be equal to the per-
acre value of a conservation easement over important

Applicant’s attorney in consultation with
County Counsel shall develop an
agricultural compensation program.

Applicant's
Attorney

Prior to
recordati
on of
final map

Rancho San Juan Specific Plan and Butterfly Village
DEVOI01 and PLNO20470

Page 45 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 21 of 27

farmland. (Planning and Building Inspection and
‘Agricultural Commissioner)

68.2. [5.11-1b AGRICULTURE Applicant shall comply with the Applicant Prior to
The applicant shall comply with the agricuitural compensation | agricultural compensation program approval
program identified in Mitigation Measure 5,11-1a to the of the
extent that funds remain available from the maximum fee final map
required to be paid for the development of the agricultural for the
compensation program pursuant to Mitigation Meastre 5.11- last
la and the Development Agreement Between The County of phase of
Monterey and The HYH Corporation. (Planning and the
Building Inspection) project.

69. $.i2J-la | PUBLIC SERVICES AND UTILITIES Applicant shail submit evidence that Applicant Prior to
Prior to recordation of the final map, the applicant shall secure | permits have been obtained. recordati
all required permits including: but not limited te, a Waste on of
Discharge Permit from the Regional Water Quality Control final map
Board and approval of system design from County
Environmental Health Division.

(Planning and Building Inspection, Public Works, and
Environmental Health)

70. 5.12.i-18 | PUBLIC SERVICES AND UTILITIES Applicant's Engineer shall design Applicant's Prior to
Treatment plant capacity shali be increased to accommodate treatment plant capacity to accommodate |Engincer recordati
each phase of the project prior to recordation of the final map | 20% excess. on of
for the respective project phases. A minimum 20% excess final map
treatment capacity shall be added to the plant and disposal
facilities, as needed, for each phase of the project, to

Rancho San Juan Specific Plan and Butterfly Village
DEV0301 and PLNO20470

Page 46 of 127

accommodate re increases in wastewater flow rates, based
on estimates of future development. In addition, flows shall
be metered and records of the flows shall be provided to the
RWQCB and Monterey County Health Department for review
and approval. (Planning and Building Inspection and
Public Works)

PUBLIC SERVICES AND UTILITIES

NOTE ON FINAL MAP: Prior to issuance of building
permits, a drift fence shall be constructed around the
construction site to prevent possible wildlife movement
through the corridor into the construction site area. Siting and
installation of the fence shall be overseen by a biologist with
appropriate permits. Pitfall traps and cover boards shall be
placed along the inside of the fence line to capture animais
dispersing from the work area during grading and
construction. The traps shall be monitored daily through the
grading and construction period and animals shall be removed
from traps and placed on the outside of the fence line in
appropriate cover. This measure shall be required during
each expansion phase of the facility. Reference Permit
Conditions No.’s 8, 48, 58,59 and 129, ). (Planning and
Building Inspection)

Applicant shall submit evidence that drift
fence has been constructed.

Applicant

Prior to
issuance
of
building
permit

PUBLIC SERVICES AND UTILITIES

A branch library, comprised of a minimum 2,500 square feet,
shall be constructed, and associated site work completed,
within Parcel 15B, The applicant is not responsible for tenant
improvements to the branch library and shall receive a credit
for all costs of the branch library and site work against library
fees required to be paid pursuant to the Development

Applicant shall construct branch library
(applicant is not responsible for tenant
improvements)

Applicant

building
permit in
Develop

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 22 of 27

Rancho San Juan Specific Plan and Butterfly Village
DEV 0301 and PELNO20470

Page 47 of 127
Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 23 of 27

Agreement between the County of Monterey and the HYH

shall submit a detailed landscape plan for the model homes.
The detailed landscape plan shall be submitted for review and

ment
Corporation, (Planning and Building Inspection} Unit 3

72. PLANNING AND BUILDING INSPECTION Applicant shall submit evidence that fees {Applicant Prior to
Prior to the issuance of a building permit, the applicant shall have been paid. issuance
pay a minimum of $0.06/square foot for residential units and of
$1.00/square foot for commercial and industrial buildings building
towards public art of either public facility land or on the permit
developer's iand as set forth in Section 7.9.5 (Public Art
Standards) of the Rancho San Juan Specific Plan. The master
developer and/or developers and the Public Art Commission
(see the Public Art Commission Mitigation Measure) shall
approve the spending and distribution of Public Art Fee funds.

A minimum of % of one cent of the total fees shall be set
aside for maintenance of the public art. The maintenance
budget may be increased as needed or other forms of funding
for maintenance may be determined at a later date by the
Public Art Commission. (Manning and Building
Inspection)

73. PLANNING AND BUILDING INSPECTION Landscape architect shall prepare [Landscape Prior to
The applicant shall landscape the model homes with native landscape plan for review and approval jArchitect issuance
and drought tolerant landscaping consistent with the Monterey | by Planning and Bui iding Inspection. of
County Landscaping Ordinance. Prior to issuance of a building
building permit for any phase of development, the applicant permit

Rancho San Juan Specific Plan and Butterfly Village
DEVO301 and PLNO20470

Page 48 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 24 of 27

approval by the Monterey County Planning and Building |

Inspection Department and shall comply with the
requirements of Section 9.4.2 (Residential Standards) of the
Rancho San Juan Specific Plan. (Planning and Building
Inspection)

74,

PLANNING AND BUILDING INSPECTION

Prior to recordation of the first final map, the applicant shall
submit a detailed phasing plan for review and approval by the
Monterey County Public Works Department and Planning and
Building Inspection Department. The detailed phasing plan
shall be consistent with the illustrative phasing plan dated July
26, 2004 prepared by Bestor Engineers, Inc. and the
requirements of Chapter 10 (Implementation) of the Rancho
San Juan Specific Plan. Prior to accupancy of the first
dwelling unit or the first square foot of commercial or
industrial space of any Planning Area, all infrastructure
necessary to achieve adequate levels of service (based on
formulas agreed upon between the Monterey County
Department of Public Works, Planning and Building
Inspection Department and the developer(s) for that phase of
the Planning Area) shall be in place as set forth in Chapter 16
(Implementation) of the Rancho San Juan Specific Plan.
(Planning and Building Intpection and Public Works)

Applicant’s engineer shall prepare
detailed phasing plan

Applicants
Engineer

Prior to
recordati
on of
final map

75.

PLANNING AND BUILDING INSPECTION

Prior to recordation of the final map, the applicant shall
submit a conceptual landscape plan for review and approval
by the Monterey County Planning and Building Inspection
Department. The conceptual landscape plan shall be

Landscape architect shall prepare plan.

Submit three copies to Planning and
Building Inspection for review and
approval.

Landscape
Architect

Prior to
recordatj
on of

final map

Rancho San Juan Specific Plan and Buiterfly Village
DEV0301 and PLNO20470

Page 49 af 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 25 of 27

consistent with the Master Landscape Plan (Figure 9-2b} in

the Rancho San Juan Specific Plan. The detailed landscape

plan shall include the following techniques as set forth in

Section 9.1 of the Rancho San Juan Specific Plan:

a. Use of drought tolerant and native plants to conserve
water.

b. Protection of existing oak trees and planting of oak grove
enhancement areas to restore habitat and enhance views.

c. Enhancement of blucline streams and creation of
wetlands to treat stormwater runoff and provide habitat.

d. Installation of various biofiltration stormwater treatment
methods, including roadway swales, detention basins,
and tain gardens to improve water quality and promote
aquifer recharge.

«Provision of small-scale agricultural groves to provide
community-building activities.

f. ‘Planting of trees to enhance passive heating and cooling.

g. Use of permeable materials for garden paths, walkways,
and patios,

h. Creation of defined gateways and neighborhood entries.
i, Use of low embodied energy products and actions.

j. Use of recycled materials such as used bricks, used
concrete, recycled plastics, recycled wood, etc.

k. Harvesting of rainwater to promote water conservation,

I. Installation of backyard wildlife gardens to attract
wildlife.

in. Preservation of natural open space areas.

Rancho San Juan Specific Plan and Butterfly Village Page 50 of 127
DEV0301 and PEN020470
Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 26 of 27

n. (See Permit Condition No. 100 (P WSP0016))
(Planaing end Building Inspection)

(Reclaimed Water System) of the Rancho San Juan Specific
Plan. The plan and supporting documentation shall be
submitted for review and approval by the Monterey County
Public Works Department, Environmental Health Division,
Water Resources Agency and Planning and Building
Inspection Department. The plan shall provide for treated
wastewater fram the sewage treatment plant on the HYH

76. PLANNING AND BUILDING INSPECTION Landscape architect shall prepare plan, [Landscape Prior to
Prior to issuance of a building permit, the applicant shall! Submit three copies to Planning and Architect issuance
submit a detailed landscape plan for review and approval by Building Inspection for review and of
the Monterey County Planning and Building Inspection approval. building
Department. The detailed landscape plan shall be consistent permit
with the landscape standards as set forth in Section 9.4
(Landscape Standards) of the Rancho San Juan Specific Plan.
in addition, the detailed landscape plan shall comply with the
requirements of the Monterey County Water Conservation
Regulations 3539 and Ordinance 3190, Chapter 18.44.

{Planning and Building Inspection and Water Resources
Agency)

77, PLANNING AND BUILDING INSPECTION Applicant shall prepare a detailed plan {Applicant Prior to
Prior te recordation of each final map, the applicant shall and supporting documentation for a recordati
prepare a detailed plan and supporting documentation for a reclaimed water system, on of
reclaimed water system as set forth in Section 6.2.5 final map

Rancho San Juan Specific Plan and Butterfly Village
DEVO301 and PLNO20470

Page 31 of 127

Case 5:06-cv-02369-JW Document 20-6 Filed 07/10/06 Page 27 of 27

property to be distributed by a separate reclaimed water
system for non-potable water uses within the Butterfly Village
portion of the specific plan area. The distribution lines for the
reclaimed water system shall be separate from the lines for the
potable water system. Operational storage facilities shall be
provided to serve each zone and/or at the reclamation plant
site. In addition to irrigation, the plan shall provide for the
reclaimed water to be allowed to percolate into the aquifer
through subgrade structures below other surface land uses.
For this process, the reclaimed water shall be treated to a
higher level than for irrigation, to the satisfaction of the
Monterey County Environmental Health Division. (Plasning
and Building Inspection, Public Works, Environmental
Health and Water Resources Agency)

assume responsibility for the services, (Public Works)

78. Pw0015 —UFILITY’S COMMENTS Applicant shall provide tentative map to [Applicant Prior to
Submit approved tentative map to impacted utility campanies. | impacted utility companies for review. Recordat
Applicant shall submit utility company recommendations, if | Applicant shall submit utility comments ion of
any, to the Department of Public Works (DPW) for all to DPW. Final
required easements. (Public Works) Map

79. PW0016 ~ MAINTENANCE OF SUBDIVISIONS Applicant shall be responsible to Applicant Until
Pay for all maintenance and operation of subdivision maintain improvements until Maintena
improvements from the time of installation unti] acceptance of | Maintenance is assumed by another nee is
the improvements for the subdivision by the Board of entity. assumed
Supervisors as completed in accordance with the subdivision by CSD
improvement agreement and until a Community Service or other
District (CSD) or other public entity with legal authorization public
te collect fees sufficient to support the services is formed to entity.

Rancho San Juan Specific Plan and Butterfly Village
DEV0301 and PLN@20470

Page 52 of 127

